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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

    ATSCO HOLDINGS CORP., et al.                  )   CASE NO. 1:15-CV-1586
                                                  )
            Plaintiffs,                           )   JUDGE CHRISTOPHER A. BOYKO
                                                  )
    v.                                            )
                                                  )
    AIR TOOL SERVICE COMPANY, et al.              )
                                                  )
            Defendants.                           )
                                                  )


                NOTICE WITH RESPECT TO PLAINTIFF’S TRIAL BRIEF


         Plaintiffs hereby incorporate by reference their previously filed trial brief (Doc. 54)

except as inconsistent with Court rulings regarding evidentiary issues.



                                           Respectfully submitted,

                                           /s/ Brian P. Muething
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                                           ATSCO Holdings Corp. and HY-TECH Machine, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of April 2018, I served a true and correct copy of the
foregoing to all counsel of record.



                                                 /s/ Brian P. Muething
                                                 Brian P. Muething
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